  Case 19-01485       Doc 13  Filed 04/01/19 Entered 04/01/19 12:15:18                 Desc Main
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                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

In re the matter of                                   CHAPTER 7 (Joliet)

       Nicole C. Ceci                                 NO. 19 B 01485

                                                      JUDGE Pamela S. Hollis


                                      NOTICE OF MOTION
TO:
       Nicole C. Ceci                                   David M. Siegel
       214 Wheeler Ave.                                 Via electronic notification
       Joliet Illinois 60436
       Via regular mail                                 Peter N. Metrou
                                                        Via electronic notification

       PLEASE TAKE NOTICE that on April 12, 2019 at 10:00 a.m., or as soon thereafter as
Counsel may be heard, we shall appear before the Honorable Pamela S. Hollis, Bankruptcy
Judge, at Joliet City Hall, 150 West Jefferson Street, 2nd Floor, Joliet, Illinois, and then and there
present the attached Motion, a copy of which is hereby served upon you.

                                       PROOF OF SERVICE

       I, the undersigned attorney, certify that I served a copy of this Notice with Motion
attached, upon debtor, as listed above, by mailing same in a properly addressed envelope, postage
prepaid, from 120 South La Salle Street, Chicago, Illinois 60603 and via electronic notification
on the remaining parties, as listed above, that occurs automatically after the filing the Motion.
That the motion was filed, and the placement of any mailed copies being placed in the mail
occurred before the hour of 5:00 P.M. on April 1, 2019.

                                             BY: _________/s/ Christopher H. Purcell_________
                                                        CHRISTOPHER H. PURCELL
CHRISTOPHER H. PURCELL
SHERMAN & PURCELL LLP
120 South La Salle Street
Chicago, Illinois 60603
Attorney for American Eagle Bank
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     MOTION TO CONFIRM TERMINATION OR ABSENCE OF AUTOMATIC STAY

   Now comes AMERICAN EAGLE BANK, a creditor herein, by SHERMAN & PURCELL
LLP, its attorneys, and moves this Honorable Court for entry of an Order confirming termination
or absence of the stay, and in support thereof respectfully represents as follows:


   1. The Debtor filed a Chapter 7 petition for relief on January 18, 2019 as well as a

statement of intentions. The §341 meeting was scheduled for February 14, 2019.



       2. American Eagle Bank is the creditor of the Debtor with respect to a debt secured by a

2016 Dodge Journey motor vehicle. The statement of intentions provides for the debt owed to

American Eagle Bank to be reaffirmed.



       3. A proposed reaffirmation agreement was sent to the debtor, via debtors counsel. It has

not been executed and returned.



       4. That more than 30 days has lapsed since the first scheduled meeting of Creditors and

the debtor has failed to reaffirm the debt owed to American Eagle Bank. Therefore, the debtor

has failed to satisfy Section 521(a)(2)(B) of the Bankruptcy Code.
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       5. That pursuant to Section 362(h)(1)(A) of the Bankruptcy Code the automatic stay

pursuant to Section 362(a) of the Bankruptcy Code terminated as of November 13, 2015.

Furthermore, the aforementioned property is no longer property of the estate.



       6. That Section 362(j) of the Bankruptcy Code provides that a party in interest, like

American Eagle Bank, can request and that the Court shall issue, an Order under Subsection (c)

confirming that the Automatic Stay has been terminated.



   WHEREFORE, AMERICAN EAGLE BANK prays that this Honorable Court enter an Order
Confirming that the Automatic Stay was never imposed or has been terminated, and for such
other and further relief as this Court may deem just.

Christopher H. Purcell                        AMERICAN EAGLE BANK.
Sherman & Purcell LLP
120 South La Salle Street                     BY: ___/s/ Christopher H. Purcell ____
Chicago, Illinois 60603                             One of its Attorneys
Phone: (312) 372-1487
Attorney for American Eagle Bank
